                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 1 of 35 Page ID #:3453



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S C H I L L E R




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                                         UNITED STATES DISTRICT COURT
                     14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     15 BROIDY CAPITAL MANAGEMENT                       Case No. 18-cv-02421-JFW
B O I E S




                          LLC and ELLIOTT BROIDY,
                     16                                                 PLAINTIFFS’ MEMORANDUM OF
                                        Plaintiffs,                     POINTS AND AUTHORITIES
                     17                                                 OPPOSING THE GRA
                                v.                                      DEFENDANTS’ MOTION TO
                     18                                                 DISMISS THE FIRST AMENDED
                          STATE OF QATAR, STONINGTON                    COMPLAINT
                     19 STRATEGIES LLC, NICOLAS D.
                          MUZIN, GLOBAL RISK ADVISORS                   The Honorable John F. Walter
                     20 LLC, KEVIN CHALKER, DAVID
                          MARK POWELL, MOHAMMED BIN                     Hearing Date: August 27, 2018
                     21 HAMAD BIN KHALIFA AL THANI,                     Time: 1:30pm
                          AHMED AL-RUMAIHI, and DOES 1-                 Courtroom: 7A
                     22 10,

                     23                 Defendants.
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                                                                                            Case No. 18-cv-02421-JFW
                                     PLAINTIFFS’ MPA IN OPPOSITION TO GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 2 of 35 Page ID #:3454




                     1 PRELIMINARY STATEMENT ........................................................................ 1
                     2 STATEMENT OF FACTS ................................................................................ 1
                     3 ARGUMENT .....................................................................................................3
                     4            I.       THIS COURT HAS SUBJECT MATTER JURISDICTION. ...... 3
                     5                     A.      Movants Do Not Have Immunity Under the FSIA. ............ 3
                     6                     B.      Movants Do Not Have Common Law Sovereign
                     7                             Immunity ............................................................................. 5
L L P




                     8            II.      THIS COURT HAS PERSONAL JURISDICTION. .................... 9
F L E X N E R




                     9            III.     THE FAC STATES CLAIMS AGAINST MOVANTS. ............ 12
                    10                     A.      The FAC’s Allegations—Including Those Made on
                    11                             Information and Belief—Must Be Accepted as True. ...... 12
S C H I L L E R




                    12                     B.      The FAC Properly Pleads a Civil Conspiracy. ................. 15
                    13                     C.      Rule 9(b)’s Particularity Requirement Is Mostly
                    14                             Inapplicable, and Is Met Where Arguably Applicable. .... 17
                    15                     D.      The FAC Adequately Alleges Each Hack-Related Cause of
B O I E S




                    16                             Action. ...............................................................................18
                    17            A.       The FAC Adequately Alleges Each Cause of Action Related to the
                    18                     Possession and Distribution of Stolen Data. ...............................22
                    19            B.       Plaintiffs’ Common Law Tort Claims Are Not Preempted......... 24
                    20                     1.      CUTSA Does Not Preempt Common Law Claims........... 24
                    21                     2.      The CFAA Does Not Preempt Civil Conspiracy Claims.. 24
                    22 CONCLUSION ................................................................................................25
                    23
                    24
                    25
                    26
                    27
                    28
                                                                         i                      Case No. 18-cv-02421-JFW
                                            PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 3 of 35 Page ID #:3455




                     1 Cases
                     2 321 Studios v. MGM Studios, Inc.,
                     3    307 F. Supp. 2d 1085 (N.D. Cal. 2004) .................................................................... 22
                     4 ABI Jaoudi & Azar Trading Corp. v. Cigna Worldwide INS. Co.,
                     5    No. 91-6785, 2016 WL 3959078 (E.D. Pa. July 22, 2016) ........................................ 7
                     6 Actuate Corp. v. Int’l Bus. Machs. Corp.,
                     7    No. C–09–05892 JCS, 2010 WL 1340519 (N.D. Cal. 2010) ................................... 21
L L P




                     8 Almont Ambulatory Surgery Center, LLC v. UnitedHealth Group, Inc.,
F L E X N E R




                     9    No. CV 14-03053 MWF(VBKx), 2015 WL 12777092
                    10    (C.D. Cal. Oct. 23, 2015) .......................................................................................... 15
                    11 Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
S C H I L L E R




                    12    874 F.3d 1064 (9th Cir. 2017) .............................................................................. 9, 10
                    13 Brainerd v. Governors of the University of Alberta,
                    14    873 F.2d 1257, 1258-60 (9th Cir. 1989) ..................................................................... 9
                    15 Brown Jordan Int’l, Inc. v. Carmicle,
B O I E S




                    16    846 F.3d 1167 (11th Cir. 2017) ................................................................................ 21
                    17 Brown Jordan Int'l, Inc. v. Carmicle, No. 0:14-CV-60629, 2014 WL 11350232 (S.D.
                    18    Fla. Aug. 29, 2014) ................................................................................................... 21
                    19 Butters v. Vance Int’l, Inc.
                    20    225 F.3d 462 (4th Cir. 2000) ...................................................................................... 4
                    21 Calder v. Jones
                    22    465 U.S. 783 (1984).............................................................................................. 9, 10
                    23 Cedars Sinai Medical Center v. Quest Diagnostic Inc.,
                    24    No. CV 17-5169-GW(FFMx), 2018 WL 2558388 (C.D. Cal. Feb. 27, 2018) ........ 23
                    25 Christie v. Nat. Inst. for Newman Studies,
                    26    258 F. Supp. 3d 494 (D.N.J. 2017) ........................................................................... 11
                    27 Consultants, Inc. v. Prod. Input Solutions, L.L.C.,
                    28
                                                                       ii                     Case No. 18-cv-02421-JFW
                                          PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 4 of 35 Page ID #:3456




                     1    789 F.Supp.2d 1029 (N.D. Iowa 2011) .................................................................... 21
                     2 Copart, Inc. v. Sparta Consulting, Inc.,
                     3    277 F. Supp. 3d 1127 (E.D. Cal. 2017) .................................................................... 24
                     4 DHI Group, Inc. v. Kent,
                     5    No. H-16-1670, 2017 WL 1088352 (S.D. Tex. Mar. 3, 2017)................................. 25
                     6 Famers Ins. Exchange v. Steele Ins. Agency, Inc.,
                     7    No. 2:13-CV-00784-MCE-DAD, 2014 WL 466274 (E.D. Cal. Feb. 5, 2014) ........ 24
L L P




                     8 Farhang v. Indian Inst. of Tech., No. C-08-02658 RMW (N.D. Cal. Jan. 12, 2012).... 8
F L E X N E R




                     9 Feist Publications, Inc. v. Rural Tel. Serv. Co.,
                    10    499 U.S. 340 (1991).................................................................................................. 21
                    11 Flynn v. Liner Grode Stein Yankelevitz Sunshine Regenstreif & Taylor LLP,
S C H I L L E R




                    12    No. 3:09-CV-00422-PMP-RAM, 2011 WL 2847712 (D. Nev. July 15, 2011) ....... 19
                    13 Freeman v. DirecTV, Inc.
                    14    457 F.3d 1001 (9th Cir. 2006) .................................................................................. 20
                    15 Giraldo v. Drummond Co.,
B O I E S




                    16    808 F. Supp. 2d 247 (D.D.C. 2011)............................................................................ 8
                    17 Gridiron Management Group LLC v. Wranglers,
                    18    No. 12-3128, 2012 WL 5187839 (D. Neb. Oct. 18, 2012)....................................... 11
                    19 Ground Zero Museum Workshop v. Wilson, 813 F. Supp. 2d 678 (D. Md. 2011) ...... 22
                    20 Halberstam v. Welch,
                    21    705 F.2d 472, 479 (D.C. Cir. 1983 ........................................................................... 19
                    22 Henry Schein, Inc. v. Cook,
                    23    191 F. Supp. 3d 1072 (N.D. Cal. 2016) .................................................................... 23
                    24 Holden v. Canadian Consulate,
                    25    92 F.3d 918 (9th Cir. 1996) ........................................................................................ 7
                    26 Hovanec v. Miller,
                    27    No. SA-17-CV-766, 2018 WL 1221486 (W.D. Tex. Mar. 7, 2018) ........................ 25
                    28
                                                                       iii                    Case No. 18-cv-02421-JFW
                                          PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 5 of 35 Page ID #:3457




                     1 In re Arizona Theranos, Inc., Litig.,
                     2    256 F. Supp. 3d 1009 (D. Ariz. 2017) ...................................................................... 14
                     3 In re Providian Credit Card Cases,
                     4    96 Cal. App. 4th 292, 300-01 (2002)........................................................................ 24
                     5 In re Terrorist Attacks on Sept. 11, 2001,
                     6    122 F. Supp. 3d 181 (S.D.N.Y. 2015) ........................................................................ 6
                     7 Jack v. Pearson
L L P




                     8     2018 WL 434046 (E.D. Cal. Jan. 16, 2018) ............................................................ 13
F L E X N E R




                     9 Joseph v. Office of Consulate Gen. of Nigeria,
                    10    830 F.2d 1018 (9th Cir. 1987) .................................................................................... 8
                    11 K.F. Jacobsen & Co. v. Gaylor,
S C H I L L E R




                    12    947 F. Supp. 2d 1120 (D. Or. 2013) ......................................................................... 21
                    13 Kazakhstan v. Ketebaev,
                    14    No. 17-CV-00246-LHK, 2017 WL 6539897 (N.D. Cal. Dec. 21, 2017)................. 11
                    15 Luck v. OTX Acquisition Corp.,
B O I E S




                    16    CV 10–1671 SVW (PJWx), 2010 WL 11595817 (C.D. Cal. 2010) ........................ 24
                    17 MacDermid v. Deiter,
                    18    702 F.3d 725 (2d Cir. 2012) ..................................................................................... 11
                    19 Mattel, Inc. v. MGA Entertainment, Inc.,
                    20    No. CV 04-9049 DOC (RNBx), 2010 WL 11463911 (Sept. 3, 2010) (citing
                    21    Halberstam v. Welch, 705 F.2d 472, 479 (D.C. Cir. 1983)). ................................... 19
                    22 Media Lab, Inc. v. Collis,
                    23    No. C08-04732 HRL, 2010 WL 3893582 (N.D. Cal. Sept. 30, 2010)..................... 22
                    24 MedioStream, Inc. v. Microsoft Corp.,
                    25    869 F. Supp. 2d 1095 (N.D. Cal. 2012) .................................................................... 23
                    26 Meggitt San Juan Capistrano, Inc. v. Nie Yongzhong,
                    27    575 Fed. Appx. 801, 803 (9th Cir. 2014) ................................................................. 23
                    28
                                                                       iv                     Case No. 18-cv-02421-JFW
                                          PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 6 of 35 Page ID #:3458




                     1 MetroPCS v. SD Phone Trader,
                     2    187 F. Supp. 3d 1147, 1150 (S.D. Cal. 2016) .......................................................... 24
                     3 Microsoft Corp. v. EEE Business Inc.,
                     4    555 F. Supp. 2d 1051, 1059 (N.D. Cal. 2008) .......................................................... 21
                     5 Moriah v. Bank of China Ltd.
                     6    107 F. Supp. 3d 272 (S.D.N.Y. 2015) ........................................................................ 9
                     7 Morrill v. Scott Financial Corp.
L L P




                     8    873 F.3d 1136 (9th Cir. 2017) .................................................................................... 9
F L E X N E R




                     9 Moser v. Health Ins. Innovations, Inc.,
                    10    No. 3:17-CV-1127-WQH-KSC, 2018 WL 325112 (S.D. Cal. Jan. 5, 2018) ..... 13, 15
                    11 NetApp, Inc. v. Nimble Storage, Inc.,
S C H I L L E R




                    12    41 F. Supp. 3d 816 (N.D. Cal. 2014) ........................................................................ 11
                    13 Opperman v. Path, Inc.,
                    14    84 F. Supp. 3d 962 (N.D. Cal. 2015.) ....................................................................... 20
                    15 Park v. Thompson,
B O I E S




                    16    851 F.3d 910 (9th Cir. 2017) .................................................................................... 13
                    17 Patrickson v. Dole Food Co.,
                    18    251 F.3d 795, 807-08 (9th Cir. 2001) ......................................................................... 3
                    19 Power Equipment Maintenance, Inc. v. AIRCO Power Servs., Inc.,
                    20    953 F. Supp. 2d 1290 (S.D. Ga. 2013) ..................................................................... 19
                    21 Republic of Mexico v. Hoffman,
                    22    324 U.S. 30 (1945)...................................................................................................... 6
                    23 Rhapsody Solutions, LLC v. Cryogenic Vessel Alternatives, Inc.,
                    24    2013 WL 820589 (S.D. Tex. Mar. 5, 2013) ............................................................. 11
                    25 Rishikof v. Morada,
                    26    70 F. Supp. 3d 8 (D.D.C. 2014) .................................................................................. 9
                    27 Rockwell Collins, Inc. v. Wallace,
                    28
                                                                       v                      Case No. 18-cv-02421-JFW
                                          PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 7 of 35 Page ID #:3459




                     1      No. SACV 17–01369 AG (JCGx), 2017 WL 5502775
                     2      (C.D. Cal. Nov. 10, 2017)......................................................................................... 23
                     3 Samantar v. Yousef,
                     4      No. 13-1361 (U.S. Jan. 30, 2015) ........................................................................ viii, 6
                     5 Samantar v. Yousuf
                     6      560 U.S. 305, 315 (2010)........................................................................................ 3, 4
                     7 Simi Management Corp. v. Bank of America Corp.,
L L P




                     8       No. C-11-5573-DMR, 2012 WL 1997232 (N.D. Cal. June 4, 2012)...................... 22
F L E X N E R




                     9 Space Data Corp. v. X,
                    10      No. 16-3260, 2017 WL 3007078 (N.D. Cal. July 14, 2017) .................................... 23
                    11 The Schooner Exch. v. McFaddon,
S C H I L L E R




                    12      11 U.S. 116 (1812)...................................................................................................... 7
                    13 Thompson v. Impaxx, Inc.,
                    14      113 Cal. App. 4th 1425 (Ct. App. 2003) .................................................................. 24
                    15 Thompson v. Park, 138 S. Ct. 642 (2018) .................................................................... 13
B O I E S




                    16 TMX Funding, Inc. v. Impero Techs., Inc.,
                    17      No. C 10–00202 JF (PVT), 2010 WL 2509979, at *3-4 (N.D. Cal. June 17, 2010)23,
                    18      24
                    19 TracFone Wireless, Inc. v. Pak China Group Co., Ltd.,
                    20      843 F. Supp. 2d 1284, 1302-03 (S.D. Fla. 2012) ..................................................... 21
                    21 Tracfone Wireless, Inc. v. Simply Wireless, Inc.,
                    22      229 F. Supp. 3d 1284 (S.D. Fla. Jan. 26, 2017) ....................................................... 19
                    23 Tyan, Inc. v. Garcia,
                    24      No. CV 15-05443-MWF (JPRx), 2017 WL 1658811,
                    25      (C.D. Cal. May 2, 2017) ........................................................................................... 20
                    26 UCAR Tech. (USA) Inc. v. Yan Li,
                    27      No. 5:17-cv-01704-EJD, 2017 WL 6405620
                    28
                                                                         vi                     Case No. 18-cv-02421-JFW
                                            PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 8 of 35 Page ID #:3460




                     1    (N.D. Cal. Dec. 15, 2017) ......................................................................................... 23
                     2 Universal Trading & Inv. Co, Inc. v. Bureau of Representing Ukrainian Interest in
                     3    Int’l and Foreign Courts
                     4    727 F.3d 10 (1st Cir. 2013)......................................................................................... 4
                     5 Verlinden B.V. v. Cent. Bank of Nigeria,
                     6    461 U.S. 480 (1983).................................................................................................... 7
                     7 Vess v. Ciba-Geigy Corp. USA,
L L P




                     8    317 F.3d 1097 (9th Cir. 2003) .................................................................................. 17
F L E X N E R




                     9 Victory Transp. Inc. v. Comisaria Gen. de Abastecimientosy Transportes,
                    10    336 F.2d 354 (2d Cir. 1964) ...................................................................................... 6
                    11 Vista Marketing, LLC v. Burkett, No. 8:12-cv-1640-T-30TBM, 2012 WL 3860435
S C H I L L E R




                    12    (M.D. Fla. Sept. 5, 2012) .......................................................................................... 20
                    13 Vivint, Inc. v. Bailie,
                    14    No. 2:15-CV-685-DAK, 2017 WL 396655 (D. Utah Jan. 30, 2017) ....................... 11
                    15 Walden v. Fiore
B O I E S




                    16    571 U.S. 277 (2014).................................................................................................. 10
                    17 Woodward v. Cty. of San Diego,
                    18    No. 17-CV-2369-JLS (KSC), 2018 WL 3343793 (S.D. Cal. July 9, 2018)............. 13
                    19 Wultz v. Bank of China Ltd.,
                    20    32 F. Supp. 3d 486 (S.D.N.Y. 2014) .......................................................................... 9
                    21 Yearsley v. W.A. Ross Const. Co.
                    22    309 U.S. 18 (1940)...................................................................................................... 4
                    23 Yousuf v. Samantar,
                    24    699 F.3d 763 (4th Cir. 2012) .................................................................................. 3, 7
                    25 Zinck v. ITT Corp.,
                    26    690 F. Supp. 1331 (S.D.N.Y. 1988) ........................................................................... 4
                    27
                         State Cases
                    28
                                                                       vii                    Case No. 18-cv-02421-JFW
                                          PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 9 of 35 Page ID #:3461




                     1 (FAC ¶¶ 117-26. ............................................................................................................. 2
                     2 The Wall Street Journal
                     3       (FAC ¶ 121) ................................................................................................................ 2
                     4 Out of State Cases
                     5 §1603(a).......................................................................................................................... 3
                     6 18 U.S.C. § 1030(b) ..................................................................................................... 19
                     7 18 U.S.C. § 2510(15) ................................................................................................... 20
L L P




                     8 18 U.S.C. § 2702 .......................................................................................................... 20
F L E X N E R




                     9 28 U.S.C. § 1603(a)........................................................................................................ 3
                    10 28 U.S.C. § 1604 ............................................................................................................ 3
                    11 560 U.S. at 315-19.......................................................................................................... 4
S C H I L L E R




                    12 560 U.S. at 323 ............................................................................................................... 5
                    13 Cal. Civ. Code § 3426.7. .............................................................................................. 24
                    14 Cal. Penal Code § 502(c)(6), (13) ................................................................................ 19
                    15 U.S.C. § 1603(b)(2) ........................................................................................................ 3
B O I E S




                    16 U.S.C. § 2701(a) ........................................................................................................... 20
                    17
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                    23
                    24
                    25
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                    27
                    28
                                                                          viii                    Case No. 18-cv-02421-JFW
                                              PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 10 of 35 Page ID #:3462




                      1                            PRELIMINARY STATEMENT
                      2        The Motion to Dismiss filed by Global Risk Advisors and Kevin Chalker (“the
                      3 GRA Defendants” or “Movants”) boils down to three questions:
                      4        1. Can U.S. citizens commit intentional torts against other U.S. citizens with
                      5           impunity—ignoring U.S. law entirely—merely because they were paid to
                      6           commit those torts by a foreign government?
                      7        2. Can the members of a conspiracy to harm California plaintiffs by stealing
L L P




                      8           and making public plaintiffs’ private documents obtain those documents by
F L E X N E R




                      9           hacking plaintiffs’ California-based servers, then assert that California courts
                    10            lack jurisdiction to provide relief to California-resident victims?
                    11         3. Can defendants conspire to commit intentional torts, concealing their actions
S C H I L L E R




                    12            and identities, and then assert that plaintiffs may not sue them because
                    13            plaintiffs unsurprisingly do not know with certainty before discovery the full
                    14            details of each defendant’s misconduct?
                    15         Because the answer to each is no, this Court should deny the motion.
B O I E S




                    16                                STATEMENT OF FACTS
                    17         Plaintiff Elliott Broidy is a California businessman who owns and operates
                    18 California-based Plaintiff Broidy Capital Management LLC (“BCM”). He is a
                    19 prominent critic of the policies of Defendant State of Qatar (“Qatar”), including its
                    20 sponsorship of terrorist groups, and is perceived by Qatar to have influence with U.S.
                    21 policymakers, including President Trump, who publicly acknowledged Broidy in a
                    22 June 2017 speech criticizing Qatar’s sponsorship of terrorism and supporting the
                    23 commercial embargo imposed on Qatar by its neighbors. (First Amended Complaint
                    24 (“FAC”) (ECF No. 47) ¶¶ 74-82, 86-87.) In response to these sanctions and the
                    25 President’s support for them, Qatar conspired with various entities in the U.S.,
                    26 lavishly funding a series of tortious acts by its co-conspirators that were intended to
                    27 undermine Broidy. (Id. ¶¶ 54-55.)
                    28
                                                                   1                      Case No. 18-cv-02421-JFW
                                      PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 11 of 35 Page ID #:3463




                      1        The FAC leaves the GRA Defendants in no doubt about the role that Plaintiffs
                      2 allege they played in that conspiracy. In October 2017, Defendant Global Risk
                      3 Advisors (“GRA”), which is based in the United States, opened an office in Qatar, and
                      4 “introduced Defendant State of Qatar to cyber mercenaries in various countries to
                      5 coordinate technical aspects of the illegal intrusion into Plaintiffs’ email server in Los
                      6 Angeles and Google LLC’s server(s) in California, and the dissemination of the
                      7 contents to U.S. news organizations, including individuals or groups associated with
L L P




                      8 known mercenary cyber threat actors.” (FAC ¶ 7.) GRA is run by Kevin Chalker, a
F L E X N E R




                      9 “former CIA cyber-operative.” (Id. ¶ 5.) The GRA Defendants “participated in the
                    10 strategic planning for and execution of the attacks” (id. ¶ 8), which were carried out in
                    11 December 2017 by hackers they hired to unlawfully access Plaintiffs’ servers in
S C H I L L E R




                    12 California with access credentials stolen through, among other means, emails sent to
                    13 Plaintiffs’ employees and associates, including in California, (id. ¶¶ 15, 93, 99, 112-
                    14 13). The hackers procured by the GRA Defendants stole Plaintiffs’ personal and
                    15 professional files, correspondence, trade secrets, business plans, and other confidential
B O I E S




                    16 and private documents. (Id. ¶¶ 97-116.)
                    17         Defendants disseminated the stolen documents to U.S. media organizations,
                    18 including some with substantial presences in California. (Id. ¶¶ 7, 14-15, 35, 40, 91-
                    19 93, 112, 115, 117, 121-22, 126, 128-29, 137, 157, 233.) Those journalists wrote
                    20 articles based on information in the stolen materials, reaching many California
                    21 readers.1 (Id. ¶¶ 117-26.) The GRA Defendants “personally supervised aspects of the
                    22 information operation against Plaintiffs.” (Id. ¶ 6.)
                    23
                    24
                    25
                          1
                    26  One such publication, The Wall Street Journal (FAC ¶ 121), has 202,465 print
                       subscribers in California, see Circulation & Distribution Areas, Wall Street Journal,
                    27 https://classifieds.wsj.com/circulation-distribution-areas/ (last visited July 23, 2018),
                       not including California digital subscribers and readers without personal
                    28 subscriptions.
                                                                    2                      Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 12 of 35 Page ID #:3464



                                                               ARGUMENT
                      1
                           I.   THIS COURT HAS SUBJECT MATTER JURISDICTION.
                      2
                                As explained in Plaintiffs’ opposition to Qatar’s motion to dismiss (ECF No.
                      3
                          133, 6-19), Qatar is not entitled to sovereign immunity under the Foreign Sovereign
                      4
                          Immunities Act (“FSIA”). It follows that the GRA Defendants cannot claim such
                      5
                          immunity derivatively. Even if Qatar could claim some immunity, however, GRA
                      6
                          Defendants are not immune under either the FSIA or common law.
                      7
L L P




                                A. Movants Do Not Have Immunity Under the FSIA.
                      8
                                Only a “foreign state” enjoys immunity under the Foreign Sovereign
F L E X N E R




                      9
                          Immunities Act (“FSIA”). 28 U.S.C. § 1604. That term encompasses a “political
                    10
                          subdivision” of a foreign state or an “agency or instrumentality” thereof. 28 U.S.C.
                    11
                          § 1603(a). Because they are not “organs” of a foreign state or political subdivisions
S C H I L L E R




                    12
                          thereof, nor majority-owned by a foreign state, the GRA Defendants are neither a
                    13
                          political subdivision nor an “agency or instrumentality” of Qatar. 28 U.S.C.
                    14
                          § 1603(b)(2). See also Samantar v. Yousuf, 560 U.S. 305, 315 (2010) (“[T]he Act
                    15
B O I E S




                          establishes that ‘foreign state’ has a broader meaning, by mandating the inclusion of
                    16
                          the state’s political subdivisions, agencies, and instrumentalities. Then, in § 1603(b),
                    17
                          the Act specifically delimits what counts as an agency or instrumentality.”).
                    18
                                Movants are not organs of Qatar: they are not owned by Qatar, are not run by
                    19
                          Qatari government employees, their employees are not Qatari civil servants, and they
                    20
                          do not exercise any regulatory authority. See Patrickson v. Dole Food Co., 251 F.3d
                    21
                          795, 808 (9th Cir. 2001) (companies are not organs of a foreign government because
                    22
                          they “were not run by government appointees; their employees were not treated as
                    23
                          civil servants; nor were the Companies wholly owned by the government of Israel. . . .
                    24
                          Nor did the Companies exercise any regulatory authority.”), aff’d in part, cert.
                    25
                          dismissed in part, 538 U.S. 468, (2003).
                    26
                                Movants also have no derivative sovereign immunity because no “individual”
                    27
                          can be immune under the FSIA. Samantar, 560 U.S. at 315-19. Though Movants
                    28
                                                                     3                      Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 13 of 35 Page ID #:3465




                      1 refer to “FSIA statutory immunity,” they do not claim immunity under the FSIA and
                      2 the Supreme Court’s holding in Samantar. Rather, they argue that the doctrine of
                      3 derivative sovereign immunity, applicable to contractors working for the United
                      4 States, should be extended to American contractors working for a foreign state.
                      5 Yearsley v. W.A. Ross Const. Co., 309 U.S. 18 (1940), is irrelevant because it does not
                      6 involve foreign sovereign immunity and the well-developed body of law governing it,
                      7 but addresses immunity for a U.S. contractor who performed work for the U.S.
L L P




                      8 government pursuant to an Act of Congress. Id. at 19. “When a contractor acts under
F L E X N E R




                      9 the authority and direction of the United States, it shares in the immunity enjoyed by
                    10 the Government.” Zinck v. ITT Corp., 690 F. Supp. 1331, 1333 (S.D.N.Y. 1988)
                    11 (emphasis added).
S C H I L L E R




                    12         The GRA Defendants’ attempt to extend “the agency principles underlying
                    13 derivative immunity to foreign sovereign immunity claims” fails. (Br. 6.) The only
                    14 case cited by the GRA Defendants for this proposition is Butters v. Vance Int’l, Inc.,
                    15 225 F.3d 462 (4th Cir. 2000), which found that under the FSIA there could be
B O I E S




                    16 immunity for a contractor for Saudi Arabia. Id. at 467. Butters is no longer good law
                    17 because the Supreme Court’s later ruling in Samantar makes clear that foreign
                    18 sovereign immunity under the FSIA does not apply to individuals as an extension of
                    19 the sovereign immunity that the FSIA confers on a the foreign state.2 See Samantar,
                    20 560 U.S. at 315-19. The GRA Defendants contend that, based on Butters, “the
                    21 entitlement to derivative immunity is distinct from whether an individual qualifies for
                    22 direct immunity under the FSIA” and therefore it doesn’t matter that GRA is neither a
                    23 foreign state nor an agency or instrumentality. (Br. 6.) But the holding in Butters was
                    24 precisely that the sovereign immunity for the contractor existed under the FSIA, a
                    25   2
                         Moreover, Butters addressed “a foreign sovereign’s decision as to how best to secure
                    26 the safety of its leaders,” an activity that was “quintessentially an act peculiar to
                       sovereigns.” Butters, 225 F.3d at 465. Here, the GRA Defendants were commercially
                    27 hired for the relevant acts, which are not “peculiar to sovereigns.” See Universal
                       Trading & Inv. Co. v. Bureau of Representing Ukrainian Interest in Int’l and Foreign
                    28 Courts, 727 F.3d 10, 23 (1st Cir. 2013).
                                                                    4                      Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 14 of 35 Page ID #:3466




                      1 holding that contradicts, and hence is overruled by, Samantar. Moreover, as shown in
                      2 the next section, the State Department now flatly rejects the argument that Americans
                      3 enjoy immunity in U.S. courts, a factor made determinative by Samantar.
                      4        Movants misconstrue Samantar to support their claim of “derivative sovereign
                      5 immunity” under the FSIA. (Br. 6 n.3.) Per the Supreme Court:
                      6        [I]n some circumstances the immunity of the foreign state extends to an
                      7        individual for acts taken in his official capacity. But it does not follow
L L P




                      8        from this premise that Congress intended to codify that immunity in the
F L E X N E R




                      9        FSIA. It hardly furthers Congress’ purpose of ‘clarifying the rules that
                    10         judges should apply in resolving sovereign immunity claims,’ to lump
                    11         individual officials in with foreign states without so much as a word
S C H I L L E R




                    12         spelling out how and when individual officials are covered.
                    13 Samantar, 560 U.S. at 322. In short, individual immunity is not “FSIA statutory
                    14 immunity” (Br. 6); there is no “indication that Congress’ intent to enact a
                    15 comprehensive solution for suits against states extended to suits against individual
B O I E S




                    16 officials,” Samantar, 560 U.S. at 323.
                    17         B. Movants Do Not Have Common Law Sovereign Immunity
                    18         Movants alternatively argue that they are entitled to “foreign official immunity
                    19 under the common law[.]” (Br. 6.) But, as shown below, the State Department—
                    20 which defines when U.S. diplomatic interests are served by extending immunity,
                    21 Samantar, 560 U.S. at 312 (explaining that, absent a Suggestion of Immunity, the key
                    22 question in evaluating claims of common law immunity is “whether the ground of
                    23 immunity is one which it is the established policy of the [State Department] to
                    24 recognize”)—has made clear that U.S. citizens do not enjoy common-law immunity in
                    25 U.S. courts. This Court should defer to the State Department and decline to extend
                    26 common law immunity to Movants.
                    27         A “two-step procedure [is] typically followed when a foreign official assert[s]
                    28
                                                                   5                      Case No. 18-cv-02421-JFW
                                      PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 15 of 35 Page ID #:3467




                      1 immunity.” Id. First, “the diplomatic representative of the sovereign c[an] request a
                      2 ‘suggestion of immunity’ from the State Department.” Id. at 311 (citation omitted). If
                      3 the State Department grants the request, “the district court surrender[s] its
                      4 jurisdiction.” Id. Second, “in the absence of recognition of the immunity by the
                      5 Department of State,’ a district court . . . inquire[s] ‘whether the ground of immunity
                      6 is one which it is the established policy of the [State Department] to recognize.’” Id. at
                      7 311-12 (quoting Republic of Mexico v. Hoffman, 324 U.S. 30, 36 (1945)); see In re
L L P




                      8 Terrorist Attacks on Sept. 11, 2001, 122 F. Supp. 3d 181, 185 (S.D.N.Y. 2015).
F L E X N E R




                      9         The State Department has not provided a Statement of Interest urging immunity
                    10 here.3 See Victory Transp. Inc. v. Comisaria Gen. de Abastecimientosy Transportes,
                    11 336 F.2d 354, 360 (2d Cir. 1964) (“Since the State Department’s failure or refusal to
S C H I L L E R




                    12 suggest immunity is significant, we are disposed to deny a claim of sovereign
                    13 immunity that has not been ‘recognized and allowed’ by the State Department unless
                    14 it is plain that the activity in question falls within one of the categories of strictly
                    15 political or public acts about which sovereigns have traditionally been quite
B O I E S




                    16 sensitive.”). Accordingly, this Court must ascertain “whether the ground of immunity
                    17 is one which it is the established policy of the [State Department] to recognize.”
                    18 Samantar, 560 U.S. at 312.4 Here, it is not. To the contrary, on remand in Samantar,
                    19 the State Department issued a Statement of Interest making clear that U.S. citizens are
                    20 not entitled to immunity: “U.S. residents like Samantar who enjoy the protections of
                    21 U.S. law ordinarily should be subject to the jurisdiction of our courts, particularly
                    22 when sued by U.S. residents . . . .” Yousuf v. Samantar, 699 F.3d 763, 767 (4th Cir.
                    23
                          3
                    24      Plaintiffs have asked this Court to seek a Statement of Interest from the State
                          Department regarding Movants’ claims for immunity. (ECF No. 169 at 1.)
                    25    4
                            The State Department has repeatedly affirmed that it is the position of the Executive
                    26    Branch that courts must defer to its views on immunity, including with respect to
                          common law Foreign Official Immunity. See, e.g., Brief of the United States as
                    27    Amicus Curiae at 12-18, Samantar v. Yousuf, No. 13-1361 (U.S. Jan. 30, 2015)
                          (opposing certiorari), available at http://sblog.s3.amazonaws.com/wp-
                    28    content/uploads/2015/01/13-1361-Samantar.pdf (checked Jul. 31, 2018).
                                                                     6                      Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 16 of 35 Page ID #:3468




                      1 2012) (quoting State Department’s Statement of Interest). The Fourth Circuit
                      2 observed that “as a permanent legal resident, Samantar has a binding tie to the United
                      3 States and its court system.” Id. at 777-78.5 This long-standing position of the
                      4 Executive Branch applies even to U.S. citizens employed by foreign embassies or
                      5 consulates and U.S. citizens who are the spouses or children of foreign diplomats who
                      6 themselves enjoy immunity. 6 Here, GRA is a Delaware corporation and its president,
                      7 Kevin Chalker, “is a citizen of the United States and is domiciled in the state of New
L L P




                      8 York.” (FAC ¶¶ 22-23.) 7 They are thus not immune from suit.
F L E X N E R




                      9         This conclusion is buttressed by the State Department’s adoption of a
                    10 “restrictive” view of sovereign immunity in the “Tate Letter,” which provides that
                    11 immunity is confined to suits involving the foreign sovereign’s public acts, and does
S C H I L L E R




                    12 not extend to cases arising out of a foreign state’s strictly commercial acts.” Verlinden
                    13 B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 487 (1983).
                    14
                          5
                    15      Similarly, in the case of a former Somali military officer residing in the United
B O I E S




                          States, the State Department stated that “the interest in permitting U.S. courts to
                    16    adjudicate claims against U.S. residents warrants a denial of immunity.” Statement of
                          Interest of the United States of America 9, Ahmed v. Magan, No. 2:10-cv-00342-GCS-
                    17    MRA (S.D. Ohio Mar. 15, 2011), ECF No. 45, available at
                          https://www.state.gov/documents/organization/194069.pdf; see also The Schooner
                    18    Exch. v. McFaddon, 11 U.S. 116, 136 (1812) (“The jurisdiction of the nation within
                          its own territory is necessarily exclusive and absolute.”).
                          6
                    19      United States Department of State’s Office of Foreign Missions, “Diplomatic and
                          Consular Immunity: Guidance for Law Enforcement and Judicial Authorities,” at 9,
                    20    12 (2015), https://www.state.gov/documents/organization/150546.pdf (emphasis
                          added) (“U.S. nationals, legal permanent residents, or who are permanently resident in
                    21    the United States enjoy no personal inviolability or jurisdictional immunity in the
                          United States.”).
                    22    7
                            Consistent with State Department policy, courts have regularly held that U.S.
                    23    citizens are not immune when they do commercial work for a foreign state. “U.S.
                          citizenship precludes [an individual] from claiming derivative foreign sovereign
                    24    immunity. A contrary ruling would allow any foreign-based U.S. citizen to evade
                          compliance with domestic laws and court orders simply by alleging that he is a foreign
                    25    government’s agent.” ABI Jaoudi & Azar Trading Corp. v. Cigna Worldwide INS.
                          Co., No. 91-6785, 2016 WL 3959078, at *18 (E.D. Pa. July 22, 2016). In Holden v.
                    26    Canadian Consulate, 92 F.3d 918, 922 (9th Cir. 1996), the Ninth Circuit held that a
                          U.S. citizen employed by a Canadian consulate was not entitled to sovereign
                    27    immunity because her work was “regularly done by private persons” and she “could
                          not speak for the government.” Id. at 922 (a pre-Samantar holding regarding the
                    28    application of immunity to an individual).
                                                                    7                      Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 17 of 35 Page ID #:3469




                      1        Movants assert that the torts they are alleged to have committed are “core
                      2 sovereign functions” (Br. 10), but offer no support for that claim. Nor could they.
                      3 They are commercial actors who sold their services to Qatar. That Qatar may have
                      4 hired them hoping that their actions would affect the international commercial
                      5 blockade does not make their activities part of a core sovereign function any more
                      6 than a party planner’s activities take on the core sovereign character of the event being
                      7 planned. “Transactions between strictly governmental entities and commercial
L L P




                      8 enterprises are covered by the commercial activity exception if the role of the
F L E X N E R




                      9 sovereign is one which might be played by a private actor.” Joseph v. Office of
                    10 Consulate Gen. of Nigeria, 830 F.2d 1018, 1024 (9th Cir. 1987).
                    11         Movants also argue that “common law foreign official immunity extends to
S C H I L L E R




                    12 entities or individuals who are not ‘foreign officials themselves but who act on behalf
                    13 of a foreign sovereign under the sovereign’s direction.’” (Br. 7.) But the cases cited—
                    14 none of which involved a U.S. defendant—do not address and cannot overcome the
                    15 State Department’s clear rejection of the notion that Americans, even if paid by a
B O I E S




                    16 foreign state, are entitled to common-law immunity in U.S. courts. Giraldo involved
                    17 a subpoena served on the former President of Colombia as to which the State
                    18 Department “granted respondent’s request for a suggestion of immunity and suggests
                    19 that former President Uribe enjoys residual immunity as to information relating to acts
                    20 taken or obtained in his official capacity as a government official.” Giraldo v.
                    21 Drummond Co., 808 F. Supp. 2d 247, 249 (D.D.C. 2011), aff’d, 493 F. App’x 106
                    22 (D.C. Cir. 2012). Farhang addressed the common law immunity claim of an Indian
                    23 citizen, resident in India, who was an officer of an “instrumentality” of the state of
                    24 India. Farhang v. Indian Inst. of Tech., 655 F. App’x 569, 571 (9th Cir. 2016)
                    25 (mem.), rev’g in relevant part M.A. Mobile Ltd. v. Indian Inst. of Tech. Kharagpur,
                    26 No. C-08-02658, 2014 U.S. Dist. LEXIS 39520 (N.D. Cal. Mar. 25, 2014). Wultz
                    27 concerned the deposition of an “Israeli citizen and resident” who served as “an official
                    28
                                                                    8                      Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 18 of 35 Page ID #:3470




                      1 in Israel’s National Security Council working with the Interagency Task Force for
                      2 Combating Terrorist Financing and Financing of State Sponsors of Terrorism.” Wultz
                      3 v. Bank of China Ltd., 32 F. Supp. 3d 486, 489, 498 (S.D.N.Y. 2014). Moriah
                      4 involved an Israeli national third-party, who described himself as a “senior advisor to
                      5 various high-ranking Israeli government officials,” whose sole relevant activity was a
                      6 phone call urging a party to settle a lawsuit “at the request and instructions of” the
                      7 Israeli national security advisor. Moriah v. Bank of China Ltd. 107 F. Supp. 3d 272,
L L P




                      8 276 (S.D.N.Y. 2015). And Rishikof v. Mortada, 70 F. Supp. 3d 8 (D.D.C. 2014),
F L E X N E R




                      9 involved claims against a Moroccan citizen with refugee status in Switzerland, who
                    10 had been temporarily relocated to the United States by the Swiss government to serve
                    11 as the embassy’s driver. 8
S C H I L L E R




                    12   II.   THIS COURT HAS PERSONAL JURISDICTION.
                    13         Where a complaint alleges tort claims, the Ninth Circuit employs the
                    14 “purposeful direction” test in determining personal jurisdiction. See Axiom Foods,
                    15 Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017). Under that test,
B O I E S




                    16 which derives from Calder v. Jones, 465 U.S. 783 (1984), a defendant is subject to
                    17 personal jurisdiction where he “(1) committed an intentional act, (2) expressly aimed
                    18 at the forum state, (3) causing harm that the defendant knows is likely to be suffered
                    19 in the forum state.” Axiom, 874 F.3d at 1069. Thus, “when a defendant engages in
                    20 tortious activity toward a plaintiff in the state where that plaintiff resides, the
                    21 defendant is subject to personal jurisdiction there.” Morrill v. Scott Fin. Corp., 873
                    22 F.3d 1136, 1148 (9th Cir. 2017) (citing Brainerd v. Governors of the Univ. of Alberta,
                    23 873 F.2d 1257, 1258-60 (9th Cir. 1989)).
                    24         The FAC alleges that the Defendants—including Movants—targeted Broidy in
                    25 this District because of his outspoken criticism of Qatar and the fact that when
                    26
                         8
                    27  See “Bern Pays Damages for Woman’s Death in US,” The Local (Apr. 15, 2015),
                       available at https://www.thelocal.ch/20150415/swiss-pay-damages-for-womans-
                    28 death-in-us (accessed Jul. 31, 2018).
                                                                    9                      Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 19 of 35 Page ID #:3471




                      1 President Trump gave a speech in 2017 in which he criticized Qatar’s sponsorship of
                      2 terrorism, he publicly identified Broidy. (FAC ¶¶ 4, 27, 79-80, 91, 137.) It alleges
                      3 that Movants hired hackers to break into Plaintiffs’ computer servers and email
                      4 accounts—which were in California—by sending communications targeted to
                      5 Plaintiffs’ employees and associates in California, and that they “coordinate[d] and
                      6 implement[ed] the hack,” “personally supervised” the operation, identified and
                      7 introduced Qatar to the hackers who actually conducted the attack, and “participated
L L P




                      8 in the strategic planning for and execution of the attacks.” (See Id. ¶¶ 5-8, 15, 93-96,
F L E X N E R




                      9 128-29.)9 This is just the type of “individualized targeting” that the Ninth Circuit has
                    10 held satisfies the express aiming requirement of Calder and its progeny. Axiom, 874
                    11 F.3d at 1071.10
S C H I L L E R




                    12         Movants argue that the allegations of the FAC do not satisfy the requirements
                    13 of Walden v. Fiore, 571 U.S. 277 (2014), which they characterize as holding that
                    14 sufficient contacts with the forum are not established “merely because a defendant
                    15 ‘directed his conduct at plaintiffs’ whom he knew resided in the forum state.” (Br.
B O I E S




                    16 11.) That is not a fair characterization of Walden. There, a law enforcement officer in
                    17 Georgia confiscated cash from travelers (who happened to live in Nevada) as they
                    18 passed through Atlanta’s airport. 571 U.S. at 279. He later “helped draft a ‘false
                    19 probable cause affidavit’ in Georgia and forwarded that affidavit to a United States
                    20 Attorney’s Office in Georgia to support a potential action for forfeiture of the seized
                    21 funds.” Id. at 288. The law enforcement officer defendant thus did nothing
                    22
                         9
                    23     Movants attempt to deflect attention from the fact that they directly targeted victims
                         and servers in California by observing that “Plaintiffs now contend that the alleged
                    24   hack took place in Vermont. See Dkt. 133 at 9.” (Br. at 12.) Dkt. 133 could not be
                         clearer, however, that (a) the attacks launched from Vermont were only some of the
                    25   attacks directed at Plaintiffs and (b) all of the attacks on Plaintiffs targeted their
                         servers in California.
                    26   10
                            In the alternative, the Court should permit further jurisdictional discovery to
                    27   determine the extent of the GRA Defendants’ activities in hiring, planning and
                         directing an attack on Plaintiffs’ computers located in California, and an opportunity
                    28   to amend the complaint to incorporate newly discovered evidence.
                                                                    10                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 20 of 35 Page ID #:3472




                      1 whatsoever directed to Nevada; to the contrary—as the Supreme Court observed in the
                      2 course of distinguishing Walden from hypothetical cases “where intentional torts are
                      3 committed via the Internet or other electronic means (e.g., fraudulent access of
                      4 financial accounts or ‘phishing’ schemes)”—“there is no question where the conduct
                      5 giving rise to this litigation took place: Petitioner seized physical cash from
                      6 respondents in the Atlanta airport, and he later drafted and forwarded an affidavit in
                      7 Georgia.” Id. at 290 n.9. Indeed, the Supreme Court expressly stated that it was
L L P




                      8 “leav[ing] questions about virtual contacts for another day.” Id.
F L E X N E R




                      9         In similar cases courts have readily held that hacking into a plaintiff’s computer
                    10 system located in the forum state establishes personal jurisdiction. See, e.g., NetApp,
                    11 Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 825-828 (N.D. Cal. 2014) (applying
S C H I L L E R




                    12 Calder to exercise personal jurisdiction over Australian defendant who allegedly
                    13 hacked into a server within the forum). 11 Critically, those cases—and this one—are
                    14 readily distinguished from Republic of Kazakhstan v. Ketebaev, No. 17-CV-00246-
                    15 LHK, 2017 WL 6539897 (N.D. Cal. Dec. 21, 2017), which Movants contend stands
B O I E S




                    16 for the proposition that “hacking email servers that happened to be located in
                    17 California is ‘not enough to confer personal jurisdiction’ over defendant.” (Br. 12.)
                    18 That flatly mischaracterizes Ketebaev. Unlike here, where Movants played a central
                    19
                          11
                    20      Accord, e.g., MacDermid, Inc. v. Deiter, 702 F.3d 725, 729-31 (2d Cir. 2012)
                          (personal jurisdiction existed where nonresident defendant unlawfully accessed
                    21    plaintiff’s computers located in forum state); Christie v. Nat. Inst. for Newman
                          Studies, 258 F. Supp. 3d 494, 500-507 (D.N.J. 2017) (same); Vivint, Inc. v. Bailie, No.
                    22    2:15-CV-685-DAK, 2017 WL 396655, at *3 (D. Utah Jan. 30, 2017) (personal
                          jurisdiction proper in Utah based on nonresident defendant’s improper access to
                    23    plaintiff’s servers located in Utah to commit tort); Rhapsody Solutions, LLC v.
                          Cryogenic Vessel Alternatives, Inc., No. H-12-1168, 2013 WL 820589, at *5 (S.D.
                    24    Tex. Mar. 5, 2013) (“Numerous courts have exercised personal jurisdiction over
                          nonresident defendants where the minimum contacts with the forum consisted of
                    25    committing a tort through accessing a server located in the forum state.”); Gridiron
                          Mgmt. Grp. LLC v. Wranglers, No. 8:12-CV-3128, 2012 WL 5187839, at *4-5 (D.
                    26    Neb. Oct. 18, 2012) (unauthorized access to a private email account by a nonresident
                          defendant sufficed as basis for personal jurisdiction); U.S. Chess Fed’n, Inc. v. Polgar,
                    27    No. C 08-05126 MHP, 2009 WL 3334882, at *8-9 (N.D. Cal. Oct. 14, 2009) (personal
                          jurisdiction existed when a Washington defendant gained unauthorized access to the
                    28    email account of a California plaintiff).
                                                                     11                     Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 21 of 35 Page ID #:3473




                      1 role in a scheme to hack into and steal documents from Plaintiffs’ servers located in
                      2 California by means of communications directed to persons in California, the
                      3 Ketabaev plaintiff alleged only that the defendant’s agent hacked servers belonging to
                      4 Google which were not even alleged to be in California. 2017 WL 6539897 at *7
                      5 (“The Court finds that Kazakhstan has not sufficiently established that the hacking
                      6 involved ‘entering California, contacting anyone in California, or otherwise reaching
                      7 out to California.’ In fact, based on the allegations of the SAC, the servers containing
L L P




                      8 the hacked information could ‘be located anywhere in the world.’ There is no
F L E X N E R




                      9 allegation . . . that the servers were actually located in California.” (emphasis added)
                    10 (citations omitted)).
                    11         In short, Movants played a central role in a conspiracy to harm California
S C H I L L E R




                    12 plaintiffs by hacking into their California servers by directing multiple
                    13 communications to persons in California, stealing documents, and then making them
                    14 public, including in California. That is the very essence of purposeful direction and,
                    15 as the Ninth Circuit has made clear post-Walden, amply supports the exercise of
B O I E S




                    16 personal jurisdiction. See Morrill, 873 F.3d at 1148 (“Our analysis does not conflict
                    17 with the well-established rule . . . that, when a defendant engages in tortious activity
                    18 toward a plaintiff in the state where that plaintiff resides, the defendant is subject to
                    19 personal jurisdiction there.”).
                    20 III.    THE FAC STATES CLAIMS AGAINST MOVANTS.
                    21         A. The FAC’s Allegations—Including Those Made on Information and
                    22            Belief—Must Be Accepted as True.
                    23         Movants premise much of their argument on the idea that allegations made on
                    24 information and belief can be ignored. (Br. § III.B, but also passim.) They must do
                    25 so because the allegations in the FAC made on information and belief include that
                    26 they “personally supervised aspects of the information operation against Plaintiffs,”
                    27 and “introduced Defendant State of Qatar to cyber mercenaries in various countries to
                    28
                                                                    12                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 22 of 35 Page ID #:3474




                      1 coordinate technical aspects of the illegal intrusion into Plaintiffs’ email server,” and
                      2 that “the State of Qatar engaged the GRA Defendants and the Agent Defendants to use
                      3 illegal commercial means to promote its own economic and commercial interests,
                      4 including by conducting economic espionage.” (FAC ¶¶ 6, 7, 31; see also id. ¶¶ 93,
                      5 94, 96, 128, 129, 141.)
                      6        But the specific wrongs identified and pled in the FAC on information and
                      7 belief cannot be ignored. Movants chose not to advise the Court that the Ninth Circuit
L L P




                      8 has recently rejected that view: “The Twombly plausibility standard . . . does not
F L E X N E R




                      9 prevent a plaintiff from pleading facts alleged upon information and belief where the
                    10 facts are peculiarly within the possession and control of the defendant or where the
                    11 belief is based on factual information that makes the inference of culpability
S C H I L L E R




                    12 plausible.” Soo Park v. Thompson, 851 F.3d 910, 928 (9th Cir. 2017) (alteration in
                    13 original) (internal quotation marks omitted), cert. denied, 138 S. Ct. 642 (2018).
                    14 “Further, allegations that begin with ‘on information and belief’ are not automatically
                    15 insufficient, and are advantageous when the factual issues are ambiguous or unclear
B O I E S




                    16 between the parties.” Woodward v. Cty. of San Diego, No. 17-CV-2369-JLS (KSC),
                    17 2018 WL 3343793, at *5 (S.D. Cal. July 9, 2018) (internal quotation marks and
                    18 brackets omitted). “The Court does not devalue any of these allegations because they
                    19 are made on ‘information and belief.’” Moser v. Health Ins. Innovations, Inc., No.
                    20 3:17-CV-1127-WQH-KSC, 2018 WL 325112, at *7 (S.D. Cal. Jan. 5, 2018).
                    21         Courts applying Soo Park have credited allegations, even “key” or essential
                    22 ones, like those in the FAC. See Woodward, 2018 WL 3343793, at *5 (crediting
                    23 information-and-belief allegations where “the relevant facts are primarily within the
                    24 possession of Defendants and the officers at the jail who were present at the relevant
                    25 time”). In Jack v. Pearson, the complaint included “key allegations under information
                    26 and belief,” including whether certain mandatory safety checks occurred. No. 1:17-
                    27 CV-0520 AWI SAB, 2018 WL 434046, at *4 (E.D. Cal. Jan. 16, 2018). The court
                    28
                                                                    13                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 23 of 35 Page ID #:3475




                      1 held that plaintiff’s “inability to remember renders the key facts peculiarly within the
                      2 Defendants’ knowledge,” and credited the allegation. Id. Similarly, another district
                      3 court in this circuit credited an essential allegation—that defendants had been
                      4 enriched in an unjust enrichment action—because “particular facts about . . .
                      5 compensation, including how the compensation they received as executives of
                      6 Theranos is tied the alleged concealment, would be in [defendants’] possession and
                      7 control.” In re Arizona Theranos, Inc., Litig., 256 F. Supp. 3d 1009, 1035 (D. Ariz.),
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                      8 reconsidered as to other issues, Nos. 2:16-CV-2138, 2373, 2660, 2775, 3599-HRH,
F L E X N E R




                      9 2017 WL 4337340 (D. Ariz. Sept. 29, 2017). Indeed, in Soo Park itself, the
                    10 information-and-belief allegations included the formation of an agreement between
                    11 two defendants that formed the basis of the civil conspiracy claim. 851 F.3d at 916-
S C H I L L E R




                    12 17, 928.
                    13         The allegations here similarly concern matters “peculiarly within the possession
                    14 and control of the defendant.” Soo Park, 851 F.3d at 928. Precisely how Defendants
                    15 secretly orchestrated an attack on Plaintiffs is information that Plaintiffs cannot
B O I E S




                    16 reasonably be expected to know in detail without discovery. Plaintiffs describe what
                    17 they have a good faith basis to allege, such as that “the GRA Defendants introduced
                    18 Defendant State of Qatar to cyber mercenaries in various countries to coordinate
                    19 technical aspects of the illegal intrusion into Plaintiffs’ email server in Los
                    20 Angeles[.]” (FAC ¶ 7.) Like the agreement in Soo Park, or the compensation
                    21 arrangements in Arizona Theranos, Defendants’ conspiracy was shrouded from
                    22 Plaintiffs who thus may make viable allegations on information and belief. 12
                    23         The cases Movants rely on all precede Soo Park and, hence, to the extent that
                    24
                         12
                    25    Moreover, this practice is expressly contemplated within the Federal Rules, which
                       permit a plaintiff to plead “specifically . . . identified” factual contentions that “will
                    26 likely have evidentiary support after a reasonable opportunity for further investigation
                       or discovery.” Fed. R. Civ. P. 11(b)(3). Here, Plaintiffs have identified such
                    27 allegations by using the “information and belief” language. If, however, the Court
                       would prefer some other form of identifying language, Plaintiffs request the
                    28 opportunity to file an amended complaint using that formulation.
                                                                    14                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 24 of 35 Page ID #:3476




                      1 they conflict with it, are no longer good law. Movants also mis-cite these cases.
                      2 Vivendi, the only Ninth Circuit decision cited on this point, does not undermine
                      3 information-and-belief allegations. Vivendi SA v. T-Mobile USA Inc., 586 F.3d 689
                      4 (9th Cir. 2009). To the contrary, the court quoted an information-and-belief allegation
                      5 intended to support venue, did not ignore it, but rather explicitly considered it in ruling
                      6 on venue. Id. at 694. Movants’ remaining cases can be best understood through
                      7 examination of Moser, in which the court accepted as true information-and-belief
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                      8 allegations except for one that was “conclusory” and devoid of any facts. 2018 WL
F L E X N E R




                      9 325112, at *5. Importantly, the court credited information-and-belief allegations
                    10 similar to those here. Allegations that someone was hired to perform a task, that the
                    11 principal knew of and assisted in that task, and that the principal condoned the
S C H I L L E R




                    12 performance of the task were held to be more than “merely a formulaic recitation of
                    13 the elements” and credited for purposes of the motion to dismiss. Id. at *7. The
                    14 lesson of Moser is that when allegations are purely formulaic and generic, their
                    15 information-and-belief character does not save them, but when the allegations are
B O I E S




                    16 specific, their information-and-belief character does not detract from them. Here, the
                    17 allegations are specific, and therefore must be accepted as true.
                    18         B. The FAC Properly Pleads a Civil Conspiracy.
                    19         As an initial matter, Movants repeatedly invoke the phrase “shotgun pleading,”
                    20 arguing that the FAC simply incorporates by reference claims made against all
                    21 defendants. (E.g., Br. 17-18, 21.) Even if that were true—and it is not—it would not
                    22 support dismissal; complaints that allege facts describing individual defendants’ roles
                    23 in a conspiracy provide sufficient notice to defendants even when those complaints
                    24 assert every claim against every defendant. Almont Ambulatory Surgery Ctr., LLC v.
                    25 UnitedHealth Grp., Inc., No. CV 14-03053 MWF(VBKx), 2015 WL 12777092 at *5-
                    26 6 (C.D. Cal. Oct. 23, 2015). It is not improper to incorporate by reference each
                    27 previous paragraph, particularly where the allegations are interrelated. Id. at *5.
                    28
                                                                    15                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 25 of 35 Page ID #:3477




                      1 More fundamentally, Movants cannot plausibly claim to not understand the nature of
                      2 the claims made specifically against them when the FAC repeatedly and specifically
                      3 alleges that they were hired for the purposes of hacking Plaintiffs’ computers and
                      4 details the role that they played in the scheme to do so. (FAC ¶¶ 6, 7, 31; see also id.
                      5 ¶¶ 93, 94, 96, 128, 129, 141.)
                      6        Movants’ assault on Plaintiffs’ conspiracy allegations is built on a false
                      7 premise. They argue that “the FAC relies solely on the allegation that Qatar retained
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                      8 the GRA Defendants to join the conspiracy.” (Br. 17.) That is not true. The
F L E X N E R




                      9 allegations in the FAC establishing an agreement by Movants to engage in the
                    10 wrongful conduct described in the complaint include: (i) “the Qatari Defendants
                    11 retained and used the GRA Defendants to coordinate and implement the hack, and the
S C H I L L E R




                    12 GRA Defendants also personally supervised aspects of the information operation
                    13 against Plaintiffs” (FAC ¶ 6); (ii) “the GRA Defendants introduced Defendant State of
                    14 Qatar to cyber mercenaries in various countries to coordinate technical aspects of the
                    15 illegal intrusion into Plaintiffs’ email server in Los Angeles and Google LLC’s
B O I E S




                    16 server(s) in California” (id. ¶ 7); and (iii) “the GRA Defendants were actively
                    17 recruiting new employees within the small community of former U.S. government
                    18 offensive cyber operatives, and the GRA Defendants made it clear within that
                    19 community that they had been retained to conduct or coordinate offensive cyber
                    20 operations on behalf of Defendant State of Qatar” (id. ¶ 96).
                    21         In Soo Park the Ninth Circuit considered information-and-belief allegations that
                    22 defendants discussed filing criminal charges against someone to cause them to invoke
                    23 their Fifth Amendment rights in another proceeding, thereby precluding the
                    24 introduction of testimony in that action. 851 F.3d at 916-17. Based on these
                    25 allegations, the Ninth Circuit upheld a civil conspiracy claim under Section 1983. Id.
                    26 at 928-29. The allegations in the FAC are more specific as to the wrongful conduct
                    27 engaged in by Movants, and more suggestive of an agreement, than those found
                    28
                                                                    16                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 26 of 35 Page ID #:3478




                      1 sufficient in Soo Park.
                      2        C. Rule 9(b)’s Particularity Requirement Is Mostly Inapplicable, and Is
                      3           Met Where Arguably Applicable.
                      4        Movants rely on Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097 (9th Cir. 2003),
                      5 to argue that the FAC alleges a unified course of fraudulent conduct (Br. § IV), yet
                      6 ignore the Ninth Circuit’s explanation of what constitutes such a unified course of
                      7 conduct that makes clear that no heightened standard applies here:
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                      8        [W]here fraud is not a necessary element of a claim, a plaintiff may
F L E X N E R




                      9        choose nonetheless to allege in the complaint that the defendant has
                    10         engaged in fraudulent conduct. . . . [A] plaintiff may choose not to allege
                    11         a unified course of fraudulent conduct in support of a claim, but rather to
S C H I L L E R




                    12         allege some fraudulent and some non-fraudulent conduct. In such cases,
                    13         only the allegations of fraud are subject to Rule 9(b)’s heightened
                    14         pleading requirements. The text of Rule 9(b) requires only that in “all
                    15         averments of fraud . . ., the circumstances constituting fraud . . . shall be
B O I E S




                    16         stated with particularity.” The rule does not require that allegations
                    17         supporting a claim be stated with particularity when those allegations
                    18         describe non-fraudulent conduct.
                    19 Vess, 317 F.3d at 1103-04 (emphasis in original) (citations omitted).
                    20         The FAC does not “rely entirely on” fraudulent conduct. Neither the
                    21 allegations about data theft nor those concerning dissemination of stolen documents to
                    22 the media are allegations of fraud; they are allegations of theft and of possession and
                    23 use of stolen information. And they are central to Plaintiffs’ case.
                    24         The only “averments of fraud” even arguably in the FAC—or identified by
                    25 Movants (Br. 19-20)—relate to Defendants’ attempts to obtain log-in credentials to
                    26 Plaintiffs’ servers by deception. They are amply particular. First, the FAC alleges an
                    27 attack on Robin Rosenzweig and provides the date on which she received a specific
                    28
                                                                    17                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 27 of 35 Page ID #:3479




                      1 fraudulent e-mail, the manner in which that e-mail was disguised to look like an e-
                      2 mail from Google, how that e-mail sought to steal her credentials, the manner in
                      3 which her e-mail settings were altered to make her unaware of the attack, and the date
                      4 of when her e-mail was unlawfully accessed using the stolen credentials. (FAC ¶¶ 97-
                      5 100.) Second, the FAC alleges a specific attack on Joel Mowbray, again including the
                      6 date of the spearphishing email, the content of the fraudulent communications, the
                      7 manner in which those communications stole his user credentials (including how the
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                      8 attackers got around two-factor authentication), and even screenshots—with dates—of
F L E X N E R




                      9 the fraudulent emails and text messages. (Id. ¶¶ 101-08.) Third, the FAC alleges an
                    10 attack upon Mr. Broidy’s Assistant, and again provides the date of the attack, the e-
                    11 mail address used to send the spearphishing e-mail, a screenshot of the website set up
S C H I L L E R




                    12 to obtain user credentials, and details of how the fraudulent communications would
                    13 cause her to mistakenly enter her user credentials. (Id. ¶¶ 109-11.) Finally, the FAC
                    14 particularly alleges how these stolen user credentials were used to infiltrate Plaintiffs’
                    15 computer systems, including by providing dates, the approximate number of wrongful
B O I E S




                    16 connections, the services used to mask the Defendants’ locations, and at least one
                    17 actual location of an attacker. (Id. ¶¶ 112-16.)
                    18         Movants’ argument that Plaintiffs have not identified their “role” in the attack
                    19 (Br. 21), is also wrong. As we show above, the FAC sufficiently alleges their role in
                    20 planning, facilitating, and carrying out the theft that Plaintiffs allege. (See, e.g., FAC
                    21 ¶¶ 6, 7, 31, 93, 94, 96, 128, 129, 141.)
                    22         D. The FAC Adequately Alleges Each Hack-Related Cause of Action.
                    23         Movants attack Counts I, II, IV, VI, and VII on various technical grounds
                    24 premised on the notion that disregarding all information-and-belief allegations leaves
                    25 nothing tying Movants to the torts alleged. (Br. 22.) As shown above, they are wrong
                    26 about whether those allegations should be considered; the FAC adequately alleges that
                    27 Movants themselves were key participants in those torts. As a result, Movants’
                    28
                                                                    18                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 28 of 35 Page ID #:3480




                      1 arguments are not just wrong, they are beside the point.
                      2                1. Counts I and II State Claims Under the Computer Fraud and Abuse
                      3                   Act (“CFAA”) and the California Comprehensive Computer Data
                      4                   Access and Fraud Act (“CDAFA”).
                      5         Movants argue that Plaintiffs failed to allege that they personally accessed
                      6 Plaintiffs’ servers. (Br. 22.) But both statutes extend liability to those who assist
                      7 hackers. The CFAA makes those who conspire to violate the statute liable. See 18
L L P




                      8 U.S.C. § 1030(b). The cases that Movants cite are not to the contrary. See Flynn v.
F L E X N E R




                      9 Liner Grode Stein Yankelevitz Sunshine Regenstreif & Taylor LLP, No. 3:09-CV-
                    10 00422-PMP-RAM, 2011 WL 2847712, at *3 (D. Nev. July 15, 2011) (the CFAA
                    11 extends liability to “a co-conspirator of a primary violator”). Power Equipment
S C H I L L E R




                    12 Maintenance, Inc. v. AIRCO Power Services, Inc., 953 F. Supp. 2d 1290 (S.D. Ga.
                    13 2013), did not address vicarious liability, but dismissed a CFAA claim where the
                    14 complaint did not allege that the defendants exceeded their authority in accessing their
                    15 employer’s computer. Id. at 1296-97. See also TracFone Wireless, Inc. v. Simply
B O I E S




                    16 Wireless, Inc., 229 F. Supp. 3d 1284, 1296 (S.D. Fla. Jan. 26, 2017) (rejecting motion
                    17 to dismiss claim for aiding and abetting CFAA violation). And the CDAFA creates
                    18 liability for those who either provide a means of accessing a computer or assist in
                    19 providing a means of accessing a computer in violation of the statute. Cal. Penal
                    20 Code § 502(c)(6), (13). 13 Movants cite no cases to the contrary.
                    21                 2. Count IV of the FAC States a Claim For Intrusion Upon Seclusion.
                    22          Movants similarly argue that the FAC fails to plead that they, themselves,
                    23 directly accessed Plaintiffs’ computers. (Br. 22-23.) Even if true, this argument
                    24    13
                            Under California law, civil conspiracy is not an independent cause of action, but “a
                    25    means for establishing vicarious liability for the underlying tort.” Mattel, Inc. v. MGA
                          Entertainment, Inc., No. CV 04-9049 DOC (RNBx), 2010 WL 11463911, at *3 (C.D.
                    26    Cal. Sept. 3, 2010) (quoting Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983)).
                          Plaintiffs allege that Movants are liable for conspiring to breach all of the duties and
                    27    violate all of the statutes asserted in all of Plaintiffs’ causes of action. (See FAC ¶¶
                          228-238.) Thus Plaintiffs’ conspiracy theory renders the Movants, at a minimum,
                    28    vicariously liable as to all state law causes of action.
                                                                     19                     Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 29 of 35 Page ID #:3481




                      1 would not support dismissal. A plaintiff establishes secondary liability for intrusion
                      2 upon seclusion when he or she shows that a defendant “(1) knew [a third party’s]
                      3 conduct constituted a breach of duty and gave substantial assistance or encouragement
                      4 to [that third party] to so act, or (2) gave substantial assistance to [a third party] in
                      5 accomplishing the [intrusion upon seclusion], and [the defendant’s] own conduct,
                      6 separately considered, constituted a breach of the duty to [the plaintiff].” Opperman
                      7 v. Path, Inc., 84 F. Supp. 3d 962, 985 (N.D. Cal. 2015). The FAC pleads that
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                      8 Movants supervised and orchestrated the hacks on Plaintiffs’ computer systems.
F L E X N E R




                      9 (FAC ¶¶ 6-8.) Such allegations are sufficient to claim either primary or secondary
                    10 liability for intrusion upon seclusion.
                    11                 3. Count VI States a Stored Communications Act (“SCA”) Claim.
S C H I L L E R




                    12          Movants similarly incorrectly argue that there is no vicarious liability under the
                    13 SCA. (Br. 23.) To the contrary, a plaintiff may bring a claim for conspiracy under 18
                    14 U.S.C. § 2701(a). See Tyan, Inc. v. Garcia, No. CV 15-05443-MWF (JPRx), 2017
                    15 WL 1658811, at *14 (C.D. Cal. May 2, 2017); Vista Marketing, LLC v. Burkett, No.
B O I E S




                    16 8:12-cv-1640-T-30TBM, 2012 WL 3860435 (M.D. Fla. Sept. 5, 2012). Freeman v.
                    17 DirecTV, Inc., 457 F.3d 1001 (9th Cir. 2006), relied on by Movants, addresses 18
                    18 U.S.C. § 2702, a different provision that regulates “a person or entity providing an
                    19 electronic communication service to the public.” The court found no vicarious
                    20 liability in large part because § 2702 is “clear about upon whom [it is] imposing
                    21 liability.” Id. at 1006. In contrast, § 2701(a) imposes liability on “whoever” violates
                    22 it, rendering Freeman inapplicable.
                    23          They also incorrectly argue that Plaintiffs’ servers are not a “facility through
                    24 which an electronic communication service is provided.” (Br. 23.) An “electronic
                    25 communication service” is “any service which provides to users thereof the ability to
                    26 send or receive wire or electronic communications,” 18 U.S.C. § 2510(15), and a
                    27 company server such as BCM’s here qualifies under this definition. See Brown
                    28
                                                                     20                     Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 30 of 35 Page ID #:3482




                      1 Jordan Int’l, Inc. v. Carmicle, 846 F.3d 1167, 1177 n.4 (11th Cir. 2017) (email and
                      2 storage program was a “facility” under the SCA because it “provides the ability to
                      3 send and receive emails”); Brown Jordan Int'l, Inc. v. Carmicle, No. 0:14-CV-60629,
                      4 2014 WL 11350232, at *4 (S.D. Fla. Aug. 29, 2014) (“The general consensus of case
                      5 law considering facilities under the SCA is that servers containing information qualify
                      6 as facilities”); Cornerstone Consultants, Inc. v. Prod. Input Solutions, L.L.C., 789 F.
                      7 Supp. 2d 1029, 1050 (N.D. Iowa 2011) (an email server was a “facility” under the
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                      8 SCA). Movants cite no authority for their contrary position.
F L E X N E R




                      9               4. Count VII of the FAC States a Claim Under the Digital Millennium
                    10                   Copyright Act (“DMCA”).
                    11         Movants’ arguments are unsupported by citation and contrary to law. (Br. 23-
S C H I L L E R




                    12 24.) First, a defendant may be vicariously liable for violations of the DMCA when
                    13 part of a conspiracy to violate that statute. See TracFone Wireless, Inc. v. Pak China
                    14 Grp. Co., Ltd., 843 F. Supp. 2d 1284, 1302-03 (S.D. Fla. 2012) (finding conspiracy to
                    15 violate the DMCA).
B O I E S




                    16         Second, the FAC properly alleges that Movants stole copyrighted material
                    17 including “presentations, proprietary business plans and proposals, and strategic
                    18 correspondence.” (FAC ¶ 195.) Expressions of facts and ideas in such materials are
                    19 copyrightable. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 350-51
                    20 (1991) (“A factual compilation is eligible for copyright if it features an original
                    21 selection or arrangement of facts . . . .”). Plaintiffs’ allegations suffice.
                    22         Third, the “unauthorized distribution of passwords and usernames avoids and
                    23 bypasses a technological measure in violation of” the DMCA. Actuate Corp. v. Int’l
                    24 Bus. Machs. Corp., No. C-09-05892 JCS, 2010 WL 1340519, at *9 (N.D. Cal. Apr. 5,
                    25 2010). As “[u]nauthorized use of a password may constitute circumvention under the
                    26 DMCA,” id., the spearphishing attack here violates the DMCA. See Microsoft Corp.
                    27 v. EEE Business Inc., 555 F. Supp. 2d 1051, 1059 (N.D. Cal. 2008) (by distributing a
                    28
                                                                    21                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 31 of 35 Page ID #:3483




                      1 license key to unlock software without authorization, defendant “effectively
                      2 circumvented Microsoft’s technological measure to control access to a copyrighted
                      3 work”); 321 Studios v. MGM Studios, Inc., 307 F. Supp. 2d 1085, 1098 (N.D. Cal.
                      4 2004) (use of an “authorized key” to decrypt DVDs by one not authorized to use it
                      5 was circumvention of encryption). The decision cited by Movants is inapposite; it
                      6 involved a defendant knowingly authorized to use the credentials, whose authorization
                      7 was later revoked. See Ground Zero Museum Workshop v. Wilson, 813 F. Supp. 2d
L L P




                      8 678, 691 (D. Md. 2011). Here, Defendants stole, and were never authorized to use,
F L E X N E R




                      9 Plaintiffs’ credentials. (FAC ¶¶ 93-116.)
                    10         E. The FAC Adequately Alleges Each Cause of Action Related to the
                    11            Possession and Distribution of Stolen Data.
S C H I L L E R




                    12         Movants attack Counts III, V, VIII, and IX by again misreading the FAC—
                    13 ignoring that it alleges that they received stolen information. FAC ¶¶ 128 and 129
                    14 allege precisely that and are supported by other allegations that Movants were retained
                    15 specifically to hack Plaintiffs’ emails, recruited others to do so, and personally
B O I E S




                    16 supervised the hack. (FAC ¶¶ 6, 93-94, 96.) It is thus a reasonable inference that they
                    17 received the materials stolen during that hack.
                    18                5. Counts III and V of the FAC State Claims for Receipt and Possession
                    19                   of Stolen Property and Conversion.
                    20         As shown above, the FAC alleges receipt of the stolen materials. Moreover,
                    21 these Counts can be alleged through conspiracy. See Simi Management Corp. v. Bank
                    22 of America Corp., No. C-11-5573-DMR, 2012 WL 1997232, at *6 (N.D. Cal. June 4,
                    23 2012); Media Lab, Inc. v. Collis, No. C08-04732 HRL, 2010 WL 3893582, at *5-6
                    24 (N.D. Cal. Sept. 30, 2010) (granting summary judgment for conspiracy to commit
                    25 conversion).
                    26
                    27
                    28
                                                                    22                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 32 of 35 Page ID #:3484




                      1               6. Counts VIII and IX State California Uniform Trade Secrets Act
                      2                  (“CUTSA”) and Defend Trade Secrets Act (“DTSA”) Claims.
                      3        Movants argue that Plaintiffs were required to plead their stolen trade secrets
                      4 with “particularity.” (Br. 24-25.) No such pleading requirement applies. See Meggitt
                      5 San Juan Capistrano, Inc. v. Yongzhong, 575 Fed. Appx. 801, 803 (9th Cir. 2014)
                      6 (“Appellants cite no state authority for the proposition that Meggitt SJC should have
                      7 identified the particular trade secrets at the pleading stage.”) (emphasis in original);
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                      8 Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc., No. CV 17-5169-GW(FFMx), 2018
F L E X N E R




                      9 WL 2558388, at *3-4 (C.D. Cal. Feb. 27, 2018) (declining to apply a heightened
                    10 pleading standard for CUTSA or DTSA claims); Space Data Corp. v. X, No. 16-3260-
                    11 BLF, 2017 WL 3007078, at *3 (N.D. Cal. July 14, 2017) (same). Indeed, the Ninth
S C H I L L E R




                    12 Circuit has rejected the “sufficient particularity” pleading standard, as deriving from a
                    13 California statute that does not address the pleading stage. See Meggitt San Juan
                    14 Capistrano, Inc., 575 Fed. App’x. at 803.
                    15         Rule 8 requires only “a short and plain statement of the claim showing that the
B O I E S




                    16 pleader is entitled to relief.” Rockwell Collins, Inc. v. Wallace, No. SACV 17–01369
                    17 AG (JCGx), 2017 WL 5502775, at *2 (C.D. Cal. Nov. 10, 2017). The FAC pleads
                    18 that Defendants stole business plans and proposals, the research supporting those
                    19 proposals including costs and service projections, and contact information for business
                    20 relationships (FAC ¶¶ 205, 218), and that those materials included trade secrets (id. ¶¶
                    21 15, 92, 128-29, 205, 218). Such materials qualify for trade secret protection under
                    22 California law. See UCAR Tech. (USA) Inc. v. Yan Li, No. 5:17-cv-01704-EJD, 2017
                    23 WL 6405620, at *3-4 (N.D. Cal. Dec. 15, 2017) (business plans); Henry Schein, Inc.
                    24 v. Cook, 191 F. Supp. 3d 1072, 1077 (N.D. Cal. 2016) (customer lists). These
                    25 allegations suffice. See TMX Funding, Inc. v. Impero Techs., Inc., No. C 10–00202 JF
                    26 (PVT), 2010 WL 2509979, at *3-4 (N.D. Cal. June 17, 2010).
                    27
                    28
                                                                    23                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 33 of 35 Page ID #:3485




                      1         F. Plaintiffs’ Common Law Tort Claims Are Not Preempted.
                      2                1.    CUTSA Does Not Preempt Common Law Claims.
                      3         CUTSA does not preempt “civil remedies that are not based upon
                      4 misappropriation of a trade secret.” Cal. Civ. Code § 3426.7(b)(2). 14 Rather,
                      5 “[w]here the common law claim is based on the misappropriation of confidential
                      6 information that is not a trade secret under CUTSA, the claim is not preempted.”
                      7 Luck v. OTX Acquisition Corp., CV 10-1671 SVW (PJWx), 2010 WL 11595817, at *8
L L P




                      8 (C.D. Cal. 2010) (citing TMX Funding, Inc., 2010 WL 2509979, at *4-5). While the
F L E X N E R




                      9 FAC alleges theft of trade secrets, it also alleges theft of many materials that are not
                    10 trade secrets (see FAC ¶¶ 15, 92, 117, 128-29, 163, 170-71, 180). There is thus no
                    11 CUTSA preemption.
S C H I L L E R




                    12                 2.    The CFAA Does Not Preempt Civil Conspiracy Claims.
                    13          The CFAA does not preempt Plaintiffs’ civil conspiracy claims. (Br. 25.)
                    14 Courts routinely let plaintiffs assert CFAA claims alongside civil conspiracy claims.
                    15 See MetroPCS v. SD Phone Trader, 187 F. Supp. 3d 1147, 1150 (S.D. Cal. 2016)
B O I E S




                    16 (denying motion to dismiss claims for civil conspiracy or CFAA violations); Famers
                    17 Ins. Exchange v. Steele Ins. Agency, Inc., No. 2:13-CV-00784-MCE-DAD, 2014 WL
                    18 466274, at *4 (E.D. Cal. Feb. 5, 2014) (same). The decision Movants cite does not
                    19 stand for the broad proposition that the CFAA preempts all civil conspiracy claims;
                    20 rather, it holds only that an alleged conspiracy to violate the CFAA is tested against
                    21 the elements set out in 18 U.S.C. § 1030(b), which provides a private right of action
                    22 for conspiracy to violate the CFAA, rather than against elements established by
                    23
                    24    14
                             “Whether information constitutes a trade secret is a fact-intensive determination,”
                    25    Copart, Inc. v. Sparta Consulting, Inc., 277 F. Supp. 3d 1127, 1154 (E.D. Cal. 2017)
                          (citing In re Providian Credit Card Cases, 96 Cal. App. 4th 292, 300-01 (2002)), and
                    26    often cannot be determined on a motion to dismiss. Thompson v. Impaxx, Inc., 113
                          Cal. App. 4th 1425, 1430 (Ct. App. 2003); see also Luck, 2010 WL 11595817, at *8
                    27    (holding that determining whether information is a trade secret “is not a matter that the
                          court can resolve based on the pleadings alone” and thus, “a CUTSA preemption
                    28    finding is premature, at this time”).
                                                                     24                     Case No. 18-cv-02421-JFW
                                        PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 34 of 35 Page ID #:3486




                      1 general state law governing conspiracies.15 But DHI Grp., Inc. v. Kent, No. H-16-
                      2 1670, 2017 WL 1088352, at *9-13 (S.D. Tex. Mar. 3, 2017), does not make that
                      3 standard applicable to conspiracies to commit other torts. For example, Hovanec v.
                      4 Miller, No. SA-17-CV-766-XR, 2018 WL 1221486, at *8 (W.D. Tex. Mar. 7, 2018),
                      5 cited DHI Group for the proposition that18 U.S.C. § 1030(b) governs a civil
                      6 conspiracy to violate the CFAA, while separately assessing claims of conspiracy to
                      7 commit other wrongs, including under a Texas statute. Id. at *14 & n. 8. (“Plaintiff
L L P




                      8 fails to allege any conspiracy to ‘intercept’ as defined by the FWA or the Texas
F L E X N E R




                      9 Wiretap Act, and thus those statutes cannot form the basis of a conspiracy claim.”).
                    10 Here, the FAC alleges a conspiracy—both to violate the CFAA and also to commit
                    11 numerous other torts. (See FAC ¶¶ 228-238.) 18 U.S.C. § 1030(b) governs only the
S C H I L L E R




                    12 CFAA-conspiracy claim; the remainder are governed by state law and the federal
                    13 statutes cited in FAC ¶ 229.
                    14                                      CONCLUSION
                    15
B O I E S




                               The GRA Defendants are not licensed to commit intentional torts against other
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                         Americans with impunity just because they were paid to do so by Qatar. They may
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                         not play a key role in a conspiracy to harm California residents by, among other
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                         things, sending communications targeted to Plaintiffs’ employees and associates in
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                         California, hacking into their California-located computers to steal documents,
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                         releasing the stolen documents to media with significant distribution in California, and
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                         harming their victims in California, and then claim that California courts lack
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                         jurisdiction to hear the resulting claims. Nor should they be heard to ask this Court to
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                         disregard the allegations of the FAC, which sufficiently inform them of what Plaintiffs
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                         allege against them, because Plaintiffs cannot know, before discovery, all or many of
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                    26   15
                         To the extent this Court is inclined to dismiss the conspiracy-to-violate-the-
                    27 CFAA    claim against Movants because it does not explicitly cite 18 U.S.C.
                       § 1030(b), Plaintiffs respectfully request leave to amend their complaint to address
                    28 that technical pleading issue.
                                                                    25                     Case No. 18-cv-02421-JFW
                                       PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 195 Filed 08/06/18 Page 35 of 35 Page ID #:3487




                      1 the precise details of GRA’s role in a secret conspiracy. Accordingly, this Court
                      2 should deny the GRA Defendants’ Motion to Dismiss.
                      3
                                                          Respectfully submitted,
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                      5
                          Dated: August 6, 2018           BOIES SCHILLER FLEXNER LLP
                      6
                      7
L L P




                                                          By:   /s/ Lee S. Wolosky
                      8
                                                                LEE S. WOLOSKY
F L E X N E R




                      9                                         Counsel for Plaintiffs
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S C H I L L E R




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B O I E S




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                                                                   26                     Case No. 18-cv-02421-JFW
                                      PLAINTIFFS’ MPA OPPOSING GRA DEFENDANTS’ MOTION TO DISMISS
